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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                           )
             v.            )                        Case No. 1:21-cr-00153 (RBW)
                           )
DANIEL GOODWYN,            )
                           )
                Defendant. )

                                     PROPOSED ORDER

          Upon consideration of the Defendant’s Motion to apply Fed R. Crim P. Rule 32 to

dates related to sentencing, and for good cause shown, it is hereby

       ORDERED that the Motion is GRANTED, and

       ORDERED that sentencing will be on June 5, 2023 at (time);

       ORDERED that objections to the Presentencing Report will be submitted not later than

May 15, 2023, where the parties will work to resolve issues by May 29, 2023 when the report is

due to this Court.


SO ORDERED on this (date), 2023.

                                             HONORABLE REGGIE B. WALTON
                                             United States District Judge
